                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:11-00194
                                                  )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                            )



                                                ORDER

       Pending before the Court is the Defendant’s Objection And Petition For Reconsideration

On Order (Docket No. 1307). Through the filing, the Defendant requests that the Court

reconsider its Order (Docket No. 1275) entered on May 8, 2013, which reviewed the

Defendant’s various theories in support of his outrageous government conduct defense, and ruled

that the only theory potentially supported by applicable case law was: “The Defendant was

arrested and indicted in this case to protect a Putnam County Commissioner who had engaged in

drug dealing because the Defendant had evidence of the drug dealing, including a recording on

his cell phone.” (Docket No. 1275, at 3). Accordingly, the Court ruled that the hearing on May

16, 2013 would be limited to “evidence that the Defendant’s prosecution was motivated by a

desire to protect a Putnam County Commission, and not by evidence of the Defendant’s guilt of

the crimes charged.” (Id., at 4).

       Defendant’s pending filing raises no new facts or law that calls into question the Court’s

prior ruling, and the Court denies his request for reconsideration for the reasons stated in the

prior Order (Docket No. 1275). To the extent the Defendant claims duress and entrapment, he

may attempt to raise those defenses at trial.




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      Accordingly, Defendant’s Objection And Petition For Reconsideration On Order (Docket

No. 1307) is DENIED.

      It is so ORDERED.



                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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